           Case 3:10-cv-02649-RS Document 103 Filed 03/17/15 Page 1 of 2




     MICHAEL J. HADDAD (State Bar No. 189114)
 1   JULIA SHERWIN (State Bar No. 189268)
 2   GENEVIEVE K. GUERTIN (State Bar No. 262479)
     T. KENNEDY HELM (State Bar No. 282319)
 3   HADDAD & SHERWIN LLP
     505 Seventeenth Street
 4   Oakland, California 94612
     Telephone: (510) 452-5500
 5   Fax: (510) 452-5510
 6
     Attorneys for Plaintiff
 7
                                  UNITED STATES DISTRICT COURT
 8
                                 NORTHERN DISTRICT OF CALIFORNIA
 9

10
     DENISE GREEN, Individually,                   )
11                                                 )      Case No. C10-2649 RS
                    Plaintiff,                     )
12                                                 )
     vs.                                           )
13                                                 )
     CITY AND COUNTY OF SAN                        )      DECLARATION OF T. KENNEDY
14   FRANCISCO and the SAN FRANCISCO               )      HELM IN SUPPORT OF PLAINTIFF’S
     POLICE DEPARTMENT, public entities,           )      MOTION TO STRIKE PORTIONS OF
15   SERGEANT JA HAN KIM and DOES 1-               )      DEFENDANTS’ EXPERT SCOT
     10, individually,                             )      HAUG’S RULE 26 REPORT
16                                                 )
                                                   )
                    Defendants.                    )      Date: April 23, 2015
17
                                                   )      Time: 1:30 p.m.
18                                                 )      Place: Courtroom 3, 17th Floor
                                                   )
19

20

21

22

23

24

25

26

27

28   No. C10-2649 RS: HELM DECL. IN SUPP. PLF.’S MOT. TO STRIKE DEFS.’ EXPERT HAUG’S RULE 26 REPORT
        Case 3:10-cv-02649-RS Document 103 Filed 03/17/15 Page 2 of 2




 1   STATE OF CALIFORNIA           )

 2   COUNTY OF ALAMEDA             )

 3          T. KENNEDY HELM, attests and declares as follows:

 4          1.      I am an attorney admitted to practice before all of the courts of the State of

 5   California, and I am admitted to practice before this Court.

 6          2.      I am one of the attorneys for Plaintiff in this matter.

 7          3.      Attached hereto as Exhibit 1 is a true and correct copy of an email dated March 6,

 8   2015 from Plaintiff’s counsel Michael Haddad to Defendants’ counsel James Hannawalt.
 9          4.      Attached hereto as Exhibit 2 is a true and correct copy of a letter dated March 10,
10   2015 from Defendants’ counsel James Hannawalt to Plaintiff’s Counsel Michael Haddad.
11          5.      Attached hereto as Exhibit 3 is a true and correct copy of Defendants’ expert
12   witness Dale Stockton’s Rule 26 report in this case.
13          6.      Attached hereto as Exhibit 4 is a true and correct copy of Defendants’ expert
14   witness R. Scot Haug’s Rule 26 report in this case.
15          7.      Attached hereto as Exhibit 5 is a true and correct copy of Defendants’ expert
16   witness Donald Cameron’s Rule 26 report in this case.
17          8.      I have personal knowledge of the facts stated in this declaration. If called upon to
18   testify to same, I am competent to do so.

19          I declare under penalty of perjury pursuant to the laws of the United States and the State of

20   California that the foregoing information is true and correct. Signed this 17th day of March, 2015.

21

22   DATED: March 17, 2015

23

24
                                                            /s/ T. Kennedy Helm
25                                                          T. KENNEDY HELM
26

27

28   No. C10-2649 RS: HELM DECL. IN SUPP. PLF.’S MOT. TO STRIKE DEFS.’ EXPERT HAUG’S RULE 26 REPORT
